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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO.: 0:20-CV-61872-AHS


     ALAN DERSHOWITZ

                    Plaintiff,
     vs.

     CABLE NEWS NETWORK, INC.

                 Defendant.
     ________________________________________/

              MOTION TO STRIKE CNN’S MOTION TO UNSEAL (ECF 138)
                        AND REQUEST FOR SANCTIONS


            CNN has filed a motion to unseal a transcript that was sealed solely because CNN

     demanded that it be sealed. CNN now wishes to unseal the transcript, which it could

     simply have done by withdrawing its own motion to seal and asked for the unsealing.

     However, CNN instead uses its motion as an improper tool to violate Judge Singhal’s

     June 2, 2022 paperless order (ECF 132) by offering additional argument to its motion for

     reconsideration (essentially an unauthorized reply) disguised as argument needed in

     support of its motion to unseal.

            CNN is well aware that Judge Singhal ruled that no replies could be filed unless a

     court order is issued. Nonetheless, CNN has now used this latest motion to unseal as a

     platform to essentially write a reply and further argue its motion for reconsideration,

     knowing that it will be seen and read by Judge Singhal. This is well known in the

     industry as a backdoor method of arguing something a party otherwise cannot argue.

            The motion should be stricken, and sanctions should be levied.
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                              CERTIFICATE OF SERVICE
              I HEREBY CERTIFY that on June 9, 2022, I electronically filed the foregoing
     with the Clerk of Court by using the CM/ECF system which will send a notice of electronic
     filing to the following: Katherine M. Bolger, Esq, at katebolger@dwt.com, Oran, Hilary
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                                          By:____/s/ Brian M. Rodier________
                                                 BRIAN M. RODIER, ESQ.
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